Case 1:20-mc-00199-JGK-OTW Document 3-50 Filed 04/24/20 Page 1 of 5




              Exhibit XX
                                        Case 1:20-mc-00199-JGK-OTW Document 3-50 Filed 04/24/20 Page 2 of 5
                           NEW YORK     LOS ANGELES   SOUTH FLORIDA   CHICAGO   NATIONAL   TRI-STATE                                   SUBSCRIBE   SIGN IN




TRENDING:   Coronavirus    Blackstone    Compass   WeWork




                          Investment �rm paid developer $44.1M for four unsold units

                          TRD NEW YORK / By E.B. Solomont                                                  January 04, 2017 01:14 PM


                               With four apartments left to sell — including two
                               penthouses — HFZ Capital Group and the Carlyle
                               Group look to have split up at 505 West 19th Street.

                               Property records show that in November, Carlyle
                               bought the remaining units at the Thomas Juul-
                               Hansen-designed luxury condominium development
                               from HFZ for $44.1 million, the total amount the
                               unsold units were asking. Carlyle then re-listed the
                               apartments several days after taking ownership.

                               While terms of the sale are not entirely clear, sources
                                             Become a TRD insider today and support factual journalism.   SUBSCRIBE NOW     SIGN IN
                               said Carlyle pressured HFZ’s Ziel Feldman to drop
Case 1:20-mc-00199-JGK-OTW Document 3-50 Filed 04/24/20 Page 3 of 5
 While terms of the sale are not entirely clear, sources said Carlyle
 pressured HFZ’s Ziel Feldman to drop prices for the unsold units, in a
 nod to the softening at the top of the luxury market. Unsold units at the
 35-unit project, which hugs the High Line, are asking between $1,904
 per square foot and $3,216 per square foot. But Feldman, who is
 developing a Bjarke Ingels-designed luxury project at Nearby 76 11th
 Avenue, reportedly refused.

 “They have divergent interests,” said real estate attorney Terry Oved,
 who was not involved in the project. While Carlyle may have needed or
 wanted to close out its investment — and been willing to lower prices to
 do so — HFZ may not be in as much of a hurry, and plus, “they want to
 maintain a high resale price for that neighborhood,” he said.

 HFZ paid $46.25 million for the site at 505 West 19th in 2012, property
 records show. Sales launched in March 2014, with three penthouses all
 asking more than $17 million.

 Only one penthouse sold, however, for $17.921 million, a price that
 included a parking spot. This past October, the developers chopped
 prices for the two others: Penthouse 1, a 5,728-square-foot, four-
 bedroom pad, is now asking $17.5 million ($3,055 a foot), down from
 the original ask of $22 million ($3,841 a foot). Penthouse West, a 4,664-
 square-foot unit, is now listed for $15 million (3,216 a foot), down from
 $19 million ($4,074 a foot).

                                      ADVERTISEMENT



                                                                                                      SUBSCRIBE        SIGN IN
                                                                           Before You Renew Amazon Prime, Read This
                                                                           Wikibuy | Sponsored

         NEW YORK   LOS ANGELES   SOUTH FLORIDA   CHICAGO   NATIONAL   TRI-STATE
                Become a TRD insider today and support factual journalism.     SUBSCRIBE
                                                                                                     Read Next Story
Case 1:20-mc-00199-JGK-OTW Document 3-50 Filed 04/24/20 Page 4 of 5




 In addition to the two penthouses, Carlyle bought units 2D and 3W, now
 listed for $5.95 million and $4.75 million, respectively.

 Carlyle declined to comment, as did HFZ. The listing brokers for the four
 units — the Corcoran Group’s Shelley O’Keefe, Michael Johnson and
 Hayim Nommaz — did not respond to requests for comment.

 One real estate attorney familiar with the project said the deal
 amounted to a “business divorce.”

 “They [likely] said, ‘At this point, we can’t sell for the price we agreed
 on under the plan. Let’s make a deal… we’ve got other things we want to
 do,’” the lawyer said.

                                      ADVERTISEMENT




                                                                                                      SUBSCRIBE        SIGN IN
                                                                           Before You Renew Amazon Prime, Read This
                                                                           Wikibuy | Sponsored

         NEW YORK   LOS ANGELES   SOUTH FLORIDA   CHICAGO   NATIONAL   TRI-STATE
                Become a TRD insider today and support factual journalism.     SUBSCRIBE
                                                                                                     Read Next Story
Case 1:20-mc-00199-JGK-OTW Document 3-50 Filed 04/24/20 Page 5 of 5




 For HFZ, that other thing is likely its megaproject at 76 11th, where it
 plans to build two towers with 302 condos. HFZ paid $870 million for
 the site in November 2014, and Feldman has said units would be priced
 between $4 million and $8 million, or $3,000 to $4,000 per square foot.

 In October, The Real Deal reported that HFZ was in talks for $1.2 billion
 in construction �nancing for the project.

 In August, in a cover story on real estate developers’ secret backers, TRD
 reported that HFZ’s backers include the diamond magnate Beny
 Steinmetz. Last month, Steinmetz, an Israeli-French billionaire, was
 placed under house arrest in connection with an international bribery
 probe. When writing about the arrest, TRD mentioned the HFZ-
 Steinmetz connection, citing sources. But on Dec. 21, a representative
 for HFZ sent the following statement: “Beny Steinmetz is not in any
 way a ‘backer’ of HFZ. He is not an investor in HFZ.”

                                        ADVERTISEMENT




                                                                                                       SUBSCRIBE        SIGN IN
                                                                            Before You Renew Amazon Prime, Read This
                                                                            Wikibuy | Sponsored

         NEW YORK     LOS ANGELES   SOUTH FLORIDA   CHICAGO   NATIONAL  TRI-STATE
 On Jan. 4,        Becomewas
              Steinmetz  a TRDreleased
                               insider today and support
                                          without        factual
                                                    charge    byjournalism.
                                                                 Israeli pol
                                                                           police,
                                                                                SUBSCRIBE
                                                                                                      Read Next Story
